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                           Transgender Women Guidelines
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Can transgender women play rugby?
   Transgender women who transitioned pre-puberty and have not experienced the biological effects of
   testosterone during puberty and adolescence can play women's rugby (subject to confirmation of
   medical treatment and the timing thereof)
   Transgender women who transitioned post-puberty and have experienced the biological effects of
   testosterone during puberty and adolescence cannot currently play women's rugby
   Transgender women can play mixed-gender non-contact rugby
   World rugby are committed to ongoing evaluation of the guidelines and will remain current on all
   published research that pertains to the biological and physiological implications of testosterone
   suppression, with a formal review of the Guideline every three years. In support of this, World Rugby
   will prioritise support for high quality research projects on transgender rugby players, as part of this
   commitment to evidence-based guidelines.




Why can't transgender women play women's rugby?


Effects of testosterone



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Testosterone is an androgenic-anabolic hormone whose functions include reproductive maturation, along
with the genesis of male secondary sex characteristics. From puberty onwards, testosterone levels
increase 20-fold in males, but remain low in females, resulting in circulating testosterone concentrations at
least 15 times higher in males than in females of any age [1,2]. Among the biological changes initiated by
testosterone and its derivatives are:


    Larger and denser lean muscle mass [3,4];
    Greater force-producing capacity of skeletal muscle [5,6];
    Stiffer connective tissue [7];
    Reduced fat mass and different distribution of body fat and lean muscle mass [3];
    Longer, larger and denser skeletal structure [8,9];
    Changes to cardiovascular and respiratory function that include higher haemoglobin concentration,
    greater cross-sectional area of the trachea and lower oxygen cost of respiration (as described in [1,10-
    12]).


Collectively, these biological differences account for large sporting performance differences between
males and females. These include gaps between 9% and 15% for running, swimming and jumping events
[13], between 15% and 35% for functional tasks like kicking, throwing, bowling and weightlifting, and in
excess of 50% for tasks that involve upper body force production [10], since the biological effects of
testosterone creates disproportionately greater strength on their upper compared to lower body, while
females show the inverse [14,15]. In weight-lifting events, for instance, even when matched for mass and
stature, males lift approximately 30% more weight than females. Evaluated differently, males are able to
lift weights similar to females who weigh 30% to 40% more than them [10]. Functional movements such
as explosive jumping are similarly larger in elite males than females, with approximately 30% more power
generated during a counter­movement jump [10].


The result of these biological differences is that males outperform females in all sporting activities where
speed, size, power, strength, cardiorespiratory and anthropometric characteristics are crucial determinants
of performance. This is true for many thousands of boys and men who have undergone a testosterone-



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induced puberty, with an effect large enough that 14 to 15-year old boys outperform the best female
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athletes in history in a range of running, jumping, throwing and strength events [13,16]. The size of these
performance differences varies depending on the contributions made by each of the biological variables
to performance, and indeed, some may be detrimental to performance in some events (mass during
endurance running or cycling events, for example). Generally, however, there is no overlap in performance
between males compared to females at all matched levels of competition from high school to the elite
level. The performance disparity is illustrated by the observation that thousands of teenage boys and
adult males are able to outperform the very best biological females every year [13].


Similar performance differences between males and females have been described in non­athletically
trained individuals. Males have muscle mass 30% to 40% greater than females [4], maximal
cardiorespiratory capacities (VO2max) 25% to 50% greater than in females [17], cardiovascular parameters
between 11% and 43% greater than in females, lower limb strength approximately 50% higher than in
females across the lifespan, and upper body strength 50% to 100% higher than in age-matched females
[6]. Even when elite females, trained in sports where grip strength is an important component of
performance Uudo and handball), do not outperform untrained males in a grip strength task, with the
very best female performance corresponding to approximately the 58 th percentile for males, and a 26%
advantage for untrained males compared to typical elite females. Punching performance, a composite
movement reliant on strength, power, co-ordination and mass, has been found to be 162% higher in males
than in females [18], and 17-year old boys are able to throw a ball further than 99% of adult females [19].




Biological consideration for rugby union
The implications of biological and performance differences for rugby are two-fold. First, significant
differences in strength, size, speed and power have potential consequences for the safety of participants
in rugby, where much of the sport involves contacts in the form of tackles, rucks and mauls, as well as
numerous periods of high force production during static contests for the ball, such as the scrum and ruck.
Given the documented risk of injury in rugby from contact events in particular [20-24], the elevated
possibility of all injuries, including serious injury, from large disparities in size, speed, power, and force, is of
concern. Recent modelling of tackles using validated biomechanical models [25,26] suggests that the




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discrepancy in mass and speed of direct opponents in tackles predicts neck forces, moments and head
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accelerations. Since these factors contribute directly to injury risk, it is clear that large discrepancies create
greater risks for smaller and slower players, particularly when size and speed exist in combination.


Given that the typical male player mass is 20% to 40% greater than typical women mass, that males have
strength 40% to 80% greater (unadjusted for mass), and that men are 10% to 15% faster than women
despite being heavier, the risk of injury created by large imbalances in mass and speed may be considered
significant. To explore this, we assessed the range of masses of players at the international level and
applied the findings to a biomechanical model to explore possible implications for injury risk should cross-
over scenarios occur.


With respect to mass, we documented the range of sizes of elite men's and women's players from the 2011
Rugby World Cup up to the 2019 Rugby World Cup, finding:


    Typical (median) men's players are 41.1% heavier than typical women's players (103 kg vs 73 kg)
    Among forwards, the heaviest 1% of women players are smaller than the typical men's forward (109kg
    for women vs 112kg for men)
    The heaviest 1% of women's backs are smaller than typical men's backs (89kg vs 92kg)
    The lightest 1% of men's forwards are approximately equal in mass to the heaviest 10% of women's
    forwards, while the lightest 2% of men's backs are approximately equal to the heaviest 10% of
    women's backs
    Figure 1 below shows the frequency histograms for men's and women's players in forward and back
    positions




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Figure 1: Frequency histograms of mass of forwards (left panel) and
backs (right panel) in elite men's and women's rugby players.
Dotted lines indicate the 50th percentile, while dashed lines indicate
the 98th percentile for each group.


Implications for injury risk - head injury models
The differences observed between men and women with respects to mass may be combined with
differences in speed to create a theoretical framework in which the inertial load and forces faced by
smaller and slower player is significantly greater when in contact with a larger, faster player. this model is
intended for illustrative purposes and demonstrates the impact of only one variable known to differ
between biological males and females - namely mass - on head injury risk, in a basic parametric model,
absent force application and complex movements, as a preliminary impact analysis. the principles
illustrated by the model would apply to other injuries. The addition of speed, and strength or force exerted
during contact would further increase the implications of the findings of this illustrative model,
summarized below.


The representative figure below illustrates the concept of mass disparity as a risk of injury for ball carriers.
It depicts the linear acceleration (A), angular acceleration (B), neck force (C) and neck moment (D)
experienced by ball carriers of different masses when tackled by players with different masses. Using the
known masses of international rugby player, the position of the average male (M50) and average female
(F50) are plotted on each heat map. F90 shows the scenario where a tackler (T) corresponds to the 90th
percentile for women's mass (see Figure 1) tackles a typical female mass ball carrier (BC). X indicates
the hypothetical cross-over scenario in which a typical male tackler mass is involved in a tackle against a
ball carrier with a typical female mass.




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Figure 2. Graphical representations of linear acceleration (A),
angular acceleration (B), neck force (C) and neck moment (D) for
ball carriers of different masses during tackles by tacklers with
different masses. Mso and Fso show the modelled situation when
typical/median players tackle one another for men and women,
respectively. F90 represents a female ball-carrier with typical mass
against a tackler in the heaviest 10% of women's body mass. X
denotes the cross-over situation that would hypothetically occur for
a tackler at the men's median mass tackling a typical female ball
carrier
The modelling shows that a tackle involving players with typical or average mass produces slightly greater
accelerations and forces in men (Mso) than in women (Fso). This is a function of the higher mass of men's
players. Head and neck kinematic and kinetic variables increase significantly when the heaviest 10% of
women's body mass is used for the tackler against a typical ball carrier (F90), but this extreme "within
female-bodied" scenario produces smaller kinetic and kinematic outcomes than if the hypothetical cross-
over scenario were to occur, where an average male-bodied player is the tackler and the average female-
bodied player the ball carrier (X). The magnitude of the increase in neck forces, moments and
accelerations for the ball carrier is between 20% and 30% for typical cross-over scenario compared to the
typical female vs female scenario, and is 10% greater for the male-bodied vs female-bodied crossover
scenario than a tackle where the heaviest 10% of women are matched against typical women's mass
(F90).




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Were the cross-over to occur in a heavier male-bodied player (for example, the heaviest 10% of male-
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bodied players), the increase in neck load and head acceleration for the ball carrier approaches 50%
compared to the typical tackle scenario in women's rugby. The magnitude of these extreme head
accelerations and neck forces are not seen in women and are created by cross-over of male-bodied players
to women's rugby. Similar differences are seen when examining the accelerations and forces for the
tackler's head and neck.


The magnitude of the known risk factors for head injury are thus predicted by the size of the disparity in
mass between players involved in the tackle. The addition of speed as a biomechanical variable further
increases these disparities, which is relevant given that male players weighing 103kg (the median for men)
would be expected to run between 10% and 15% faster than typical female players (mass 73kg), and thus
considerably faster than female players who are heavier than the median (eg females at the 90 th
percentile, Fig 1). This would further compound the disparity created.


Next, it is important to also consider that these models do not account for the ability of players to actively
exert force at high rates during tackles. This would be a function of power and strength, which are
similarly known to be 30% to 80% greater in biological males than females. When these active
applications of force during contact are added to the mass and speed characteristics illustrated and
described above, the resultant neck and head forces and accelerations will increase even further, such that
the illustrative model shown above depicts the smallest possible risk increase for typical players involved
in a tackle as a result of mass alone. The addition of speed and force disparities will increase the
magnitude of these risk factors beyond the 20% to 30% we illustrate above.


The implication of these increases is complex to quantify but would result in increased injury risk for the
player experiencing the elevated risk outcomes (force and acceleration). This is because head injuries
occur when forces and accelerations on the head and neck reach a threshold necessary to cause injury,
and which is unique to each tackle situation. A tackle situation that typically produces risk factors within
20% of this threshold would, in the circumstance of a typical male-bodied vs typical female-bodied player
illustrated above, be sufficiently increased to cause an injury. The higher risk scenario involving heavier
male­bodied players would further increase injury likelihood, since all tackle situations that normally
produce kinetic and kinematic variables within 40% to 50% of an injury threshold would now exceed it, a



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scenario unseen in women's rugby. The addition of strength and speed as described, further increases the
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risk, such that a number of tackles that currently lie beneath the threshold for injury would now exceed it,
causing head injury.


Finally, it must also be considered that the ability to withstand or tolerate forces on the head and neck are
required to avoid brain injury. This is the reason neck strength is critical in injury prevention. Since the
strength disparities between males and females is so large, including a 50% lower neck isometric strength
in females, the reduced ability of female players to tolerate or withstand the forces in tackles is a further
risk factor for injury, including head injury as described above, but relevant to all injuries where the rapid
application of force or load are responsible for injury.




Implications for injury risk - scrum forces
The implication of greater mass and force-producing ability in males can be seen in forces measured
during scrums in both elite and community level rugby. Research on the forces applied during scrums
shows that at the elite level, males produce approximately twice the peak force of females in the scrum.
Even at the community level, where peak force is 30% lower than in the elite game, males produce
approximately 40% greater peak force during scrums than elite females. Given that force producing and
receiving ability is likely to be significantly lower in female community players, the implication is that
men's community level rugby scrums will be considerably more forceful than women's community level
scrums.


The risk of particularly serious and catastrophic injuries during scrums has led to a number of law changes
specifically designed to depower the scrum to reduce injury risk. This risk would be amplified by large
mismatches in strength between opposing players, since the force applied must be withstood by a direct
opponent. This is an illustration of how mismatches in strength and size are directly responsible for forces
that result in injury.




Testosterone as a predictor of performance


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It must be noted that the actual testosterone level, measurable in the body, is not a strong predictor of
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performance within men and within women [27-29]. This is because performance is multifactorial, and
testosterone's androgenzing effects contribute to, but do not solely influence the biology and resultant
performance outcomes within a group who are able to utilize it. The biological basis for male vs female
differences is thus the result of testosterone, but it does not necessarily follow that within men and within
women, the hormone is a predictor of performance.


Further, differences in the sensitivity to testosterone between individuals mean that a given level of
testosterone is not a sensitive or specific predictor of performance within each group (males and females).
This is in part because most males have elevated levels and some degree of sensitivity, while the level in
females is significantly lower and rarely exceeds even the very low end of the male range [1]. Therefore, in
two homogenous groups that are matched for either the presence or absence of a given variable (males
and females for the presence or absence of testosterone, in this case), the predictive value of that variable
within a group is greatly diminished, the same way that V02max is a significant predictor of running or
cycling performance across the whole population, but not within a group of elite marathon runners or
cyclists, who are already relatively homogenous for that characteristics [30]. Similarly, height is clearly
advantageous for professional basketball, but within the National Basketball Association (NBA), where
height has already been selected for and participants are in the extreme upper end of the overall
population for that characteristic [31], it becomes a poorer predictor of performance.


However, when the same question -does testosterone predict performance across humans of both sexes -
is asked of binary categories (males vs females in sport, rather than within males or females), then the
predictive power of testosterone is strong, because "high testosterone" during adulthood is a very
reliable indicator that the androgenizing effects of testosterone have occurred earlier during life. When
understood and assessed this way, testosterone is necessary for peak performance (since the top
performers within humans are all male), but it is not sufficient to attain it. It is here that the almost
perfect sensitivity of biological sex emerges, since in a ranking list of the top thousand performances in
most sport, every year, every single one will be biologically male.




Summary

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In summary, across all performance levels and ages after puberty, testosterone is primarily (though not
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exclusively) responsible for very large typical differences in the biology of males and females, and
consequently, performances between the sexes. These are summarized in Figure 3 below, which combines
the biological differences between males and females with their performance implications, and is
reproduced from a recent article currently in review [10].




Figure 3: Summary comparison of biological (left table) and
performance (right figure) differences between males and females
for a range of biological variables and physical activities/events.
Reproduced from Hilton & Lundberg [10]
Given that the women's category exists to ensure protection, safety and equality for those who do not
benefit from the biological advantage created by these biological performance attributes, the relevant
and crucial question is whether the suppression of testosterone for a period of 12 months, currently
required for transgender women participation in women's sport, is sufficient to remove the biological
differences summarized above?




Effects of suppression of testosterone




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Current policies regulating the inclusion of transgender women in sport are based on the premise that
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reducing testosterone to levels found in biological females is sufficient to remove many of the biologically-
based performance advantages described above. However, peer-reviewed evidence suggests that this is
not the case, and particularly that the reduction in total mass, muscle mass, and strength variables of
transgender women may not be sufficient in order to remove the differences between males and females,
and thus assure other participants of safety or fairness in competition.


Based on the available evidence provided by studies where testosterone is reduced, the biological
variables that confer sporting performance advantages and create risks as described previously appear to
be only minimally affected. Indeed, most studies assessing mass, muscle mass and/or strength suggest
that the reductions in these variables range between 5% and 10% (as described by Hilton & Lundberg
[10]). Given that the typical male vs female advantage ranges from 30% to 100%, these reductions are
small and the biological differences relevant to sport are largely retained.


For instance, bone mass is typically maintained in transgender women over the course of at least 24
months of testosterone suppression, with some evidence even indicating small but significant increases in
bone mineral density at the lumbar spine [32-34]. Height and other skeletal measurements such as bone
length and hip width have also not been shown to change with testosterone suppression, and nor is there
any plausible biological mechanism by which this might occur, and so sporting advantages due to skeletal
differences between males and females appear unlikely to change with testosterone reduction.


With respects to strength, 1 year of testosterone suppression and oestrogen supplementation has been
found to reduce thigh muscle area by 9% compared to baseline measurement [35]. After 3 years, a further
reduction of 3% from baseline measurement occurred [36]. The total loss of 12% over three years of
treatment meant that transgender women retained significantly higher thigh muscle size (p<0.05) than
the baseline measurement of thigh muscle area in transgender men (who are born female and experience
female puberty), leading to a conclusion that testosterone suppression in transgender women does not
reverse muscle size to female levels [36].




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This finding has been replicated and confirmed by numerous studies examining the effects of
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testosterone suppression on lean body mass or muscle size in transgender women [37- 44]. Collectively,
these studies find that 1 year of testosterone suppression to female­typical reference levels results in a
comparatively modest loss of lean body mass (LBM) or muscle size, with consistent changes between 3%
and 5% reduction in LBM after 1 year of treatment (as summarized from source research studies by Hilton
& Lundberg [10]).


Muscle force-producing capability is reduced after testosterone suppression, though as appears to be the
case for muscle/lean mass, these reductions are considerably smaller in magnitude that the initial male-
vs-female differences in these variables. For instance, hand-grip strength was reduced by 7% and 9% after
1 and 2 years, respectively, of cross­hormone treatment in transgender women [39], and by 4% in 249
transwomen after 1 year of gender-affirming treatment, with no variation between different testosterone
levels, age or BMI tertiles [45]. Transgender women retained a 17% grip-strength advantage over
transgender men at baseline measurement, with a similarly large, retained advantage when compared to
normative data from a reference or comparison group of biological females.


Most recently, Wiik et al found that isokinetic knee extension and flexion strength were not significantly
reduced in 11 transgender women after 12 months of testosterone suppression, with a retained advantage
of 50% compared to a reference group of biological females and the group of transgender men at baseline
[41]. This absence of a reduction in strength occurred in conjunction with a 4% to 5% reduction in thigh
volume, and no difference in the contractile density of the muscle, which suggests that the reduction of
testosterone for a period of a year had no effect on the force-producing capacity per unit of cross sectional
area [41], a variable that is known to be higher in males than females.


In conclusion, longitudinal research studies that have documented changes in lean mass, muscle
mass/area and strength show consistently that small decreases occur as a result of testosterone
suppression, with a resultant relatively large retained advantage in these variables compared to a group of
biological females.




Conclusion

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Testosterone exerts significant biological effects on biological males during puberty and adolescence. This
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creates large differences in strength, mass, speed, power, and endurance capacity. In turn, these create
player welfare concerns and performance inequality in rugby, given the importance of physical contact
and strength in the sport. Longitudinal research studies on the effect of reducing testosterone to female
levels for periods of 12 months or more do not support the contention that variables such as mass, lean
mass and strength are altered meaningfully in comparison to the original male-female differences in these
variables. The lowering of testosterone removes only a small proportion of the documented biological
differences, with large, retained advantages in these physiological attributes, with the safety and
performance implications described previously. There is currently no basis with which safety and fairness
can be assured to biologically female rugby players should they encounter contact situations with players
whose biologically male advantages persist to a large degree.


While there is overlap in variables such as mass, strength, speed and the resultant kinetic and kinematic
forces we have modelled to explore the risk factors, the situation where a typical player with male
characteristics tackles a typical player with female characteristics increases the magnitude of known risk
factors for head injuries by between 20% and 30%. In the event of smaller female players being exposed
to that risk, or of larger male players acting as opponents, the risk factors increase significantly, and may
reach levels twice as large, at the extremes. The basis for regulation is the typical scenario, though risk
mitigation must be mindful of the potential for worst-case scenarios that may arise. Both are deemed
unacceptably high, because they would result in a number of tackle situations that currently lie beneath a
threshold required to cause injury increasing to exceed that threshold.


Thus, it is on the basis of male vs female biological differences, combined with no evidence for removal of
their implications for safety and performance, that the guideline is that trans women should not compete
in women's rugby.




Assessment of research limitations and implications




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It is acknowledged that the published studies currently available on testosterone suppression and
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physiological changes (compiled and described in Hilton and Lundberg, 2020 and reviewed individually in
the proposed policy document) have been conducted in untrained transgender women. This invites
questions over the validity and generalizability of the studies to a sports-playing population.


This is a valid question, and it is acknowledged that research is required to fully address questions arising
out of this limitation. World Rugby is committed to supporting high­quality research proposals in this
area, should they be submitted as part of World Rugby's Research programme.


However, this limitation can also be assessed within an understanding of the physiological implications of
trained compared to untrained individuals undergoing testosterone suppression. The application of
insights from complementary studies leads to a conclusion that the available research is in fact sufficient
to arrive at firm conclusions about safety, performance and retained advantages, and thus the recognized
limitations are not sufficient to refrain from drawing a conclusion on the likely implications of the
transgender research for athletes.


In assessing this issue, two primary questions may be asked:


1. How would training undertaken during the process of testosterone suppression affect the changes
observed in muscle and lean body mass, and strength variables, compared to studies done in individuals
who do not perform training?
2. How would training prior to a period of testosterone suppression influence:
1. The baseline or pre-suppression measures for muscle mass and strength in transgender women, and
thus the differences in these variables compared to a reference or control group of biological women
(cisgender women)?
2. The likely "end-point" for muscle and lean body mass as well as strength after the testosterone
suppression for a period of at least twelve months, once again compared to a reference or comparison
group of cisgender women?


Both these questions can be answered by exploring complementary research studies. At present, there is
evidence that:



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Training during the intervention to lower testosterone levels can reduce, eliminate, and even reverse any
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losses in muscle and lean body mass, muscle volume, and muscle strength. This is supported by evidence
from various study models in which biological males reduce testosterone to within the female range, and
are able to maintain or even increase these physiological variables through training [46-48].


       The implication is that any performance decline as a result of androgen deprivation is minimized or
       eliminated, and so the studies cited in support of the World Rugby Guideline, while conducted on
       non-training individuals, establish the minimum possible retained advantage for trans women. That
       is, they establish that in the absence of training during testosterone suppression, an advantage is
       retained compared to cisgender women. That advantage is either the same, or very plausibly
       increased as a result of training.


Training prior to the intervention will cause increased muscle mass and strength variables at baseline.
This means that the initial or "pre-suppression" differences in these variables compared to biological
females will be greater than in an untrained trans woman. This rebuts the assertion that trans women are
weaker, less muscular and thus more similar to biological females at baseline, within a sporting context,
since the transgender woman being considered by World Rugby is much more likely to be trained (or will
train once transition begins, as described above).


       Further, once the period of testosterone suppression begins, then the degree to which muscle mass
       and strength decreases may be either the same or relatively greater in the trained trans women as a
       result of this higher baseline. Even if the relative loss of muscle mass and strength are higher than in
       untrained trans women, it is inconceivable, and even physiologically impossible, that a pre-trained
       athletic trans woman is going to lose so much muscle mass and strength that they end at a point
       where they are less muscular/lean and weaker than a theoretically untrained (and even 'self-starved')
       transgender woman.


       Therefore, if research on untrained trans women establishes that the retained advantage in muscle
       mass and strength is corresponds to a value of X percent, this is the smallest possible remaining
       advantage for a pre-trained trans woman. The effect of training can only be to increase this value or




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       to achieve the same value of X percent retained advantage, but it cannot reduce it further, unless
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       one argues that a trained trans woman will lose so much lean mass and strength that they end up
       weaker and less muscular than a completely non-athletic individual.


Finally, it is relevant that studies comparing untrained biological males and highly trained females, males
retain an advantage despite the training status of biological females. For instance, in a study on grip
strength, the strongest elite athletically trained females in sports where grip strength is a performance
advantage Uudo and handball) are only as strong as untrained biological males at the 58th percentile,
with a 26% difference in strength between typical elite females and typical untrained males [49].
Similarly, Morrow & Hosler (1981) found that untrained college-aged males were more than twice as
strong as trained female basketball and volleyball players in a bench press task, with the top 5% strongest
trained females equal in strength to the weakest 14% of untrained males This establishes that pre-trained
biological females can increase strength beyond that of untrained females, but still do not compare to
untrained biological males.


The implication is also that since even typical untrained biological males have a large strength advantage
compared to elite and trained females, studies that have documented only small reductions in strength
and thus persistence of strength advantages with androgen deprivation in untrained biological males (as
in Kvorning et al [46], Chen et al [47] and in studies on transgender women cited herein) should be
considered relevant for establishing the smallest possible retained advantage that would exist in the
absence of training. As described above, and in studies where training is conducted while testosterone is
suppressed [46-48], the advantage will only remain this size or increase.


Finally, it is also recognized that not all sports are affected similarly by the variables we have weighted as
crucial for rugby (size, strength, speed, power). Indeed, in some sports, excess mass may be
disadvantageous, and thus the model for retained advantage and persistent risk may present differently
for different physical activities.


In conclusion, with those recognized limitations, World Rugby is committed to supporting research that
may in future establish that biological differences between those to whom testosterone confers significant
physiological and performance advantages and those to whom it does not are removed sufficiently to


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enable participation of transgender women in women's rugby. At the present time, however, based on the
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best published scientific evidence, that position is unsupported.


The referenced research used to support this position can be viewed here.




Conclusion - Testosterone, Welfare and Performance
Having considered all of the currently available information, the working group determined that the best
evidence currently available means that those who experienced the biological effects of testosterone
during puberty and adolescence cannot safely or fairly compete in women's rugby. That means that
currently, transgender women may not compete in women's rugby.


World Rugby is committed to encouraging transgender people to remain involved with rugby and is
currently funding research to continue to review any evidence that may emerge to enable the
participation of transgender women in women's rugby. Details of the research currently underway, along
with details of how to apply for research funding for those who may be interested, is available here.




How do I stay involved in rugby if I can no longer play in the
category that I want to?
World Rugby acknowledges that the introduction of this Guideline will mean that some players can no
longer play in the category that they want to. It is possible that will change in the future and World
Rugby is funding research to try to find out if there are ways to allow that safely and fairly (see here for
details). In the meantime, there are many other ways to stay involved with rugby:


    Other forms of the game: Many forms of non-contact Rugby exist such as: Tag; Touch; Flag etc all have
    open
    Coaching: Coaching can be hugely rewarding and can provide players with life lessons, engender a love
    for the sport and provide an enjoyable vehicle for World Rugby and its member Unions offer several
    courses for coaches of children, adolescents, and adults. All courses are open to any participant.



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    Refereeing: For many people who may not be able to play, refereeing is a viable alternative to stay
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    close to the game. World Rugby and its member Unions offer several introductory courses and a
    pathway exists in all Unions for fast-tracking talented
    Administration: All clubs rely on volunteer administrators. As individuals enter the latter stages of the
    long-term participant model, then administration becomes a realistic outlet for many. A number of
    Unions have dedicated support resources for individuals who wish to pursue this path of staying
    involved.


World Rugby is currently exploring the possibility of an "open category" of rugby in which any player could
play, regardless of gender identity. World Rugby has committed to exploring this option with its Unions,
Associations, International Rugby Players, and trans­advocate groups including Gendered Intelligence and
International Gay Rugby.




What if I have concerns about safety or fairness relating to
someone I am playing with or against?
It is important to note that many people do not meet cultural or local norms or stereotypes related to the
expression of gender identity. All players and Unions ought to take care to consider this when raising any
concerns about another player. In the event that a player or Union has a genuine concern about safety or
fairness in relation to another player, the concern should be dealt with as follows:


1. The concerned person should raise their concerns with their Union's Chief Medical Officer (CMO).
2. The Union's CMO should carefully consider the concerns raised, in the context of all of the known facts
and if having done so, the CMO determines that the concerns are not frivolous or vexatious, the CMO
should contact the World Rugby CMO setting out the basis for the
3. The World Rugby CMO will engage with the CMO of the Union of the player about whom the concerns
have been raised, ensuring confidentiality for the player and involved team-mates and opponents
throughout the
4. The World Rugby CMO and the relevant player's CMO will discuss the situation and agree on the most
appropriate actions, based on the specific circumstances




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5. In some circumstances, such appropriate actions may include a recommendation that a standardised
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endocrinological assessment be performed [Appendix].
6. For the avoidance of doubt, no player should or would be forced to undergo any medical or other
assessment. It is a player's responsibility to decide on whether he or she wishes to proceed with any
assessment. However, it should be noted that deciding not to participate in an assessment, having been
requested to do so, may have consequences in terms of the player's eligibility to participate in the
category of competition that is consistent with his/her/their gender identity, since it may not be possible
to determine whether issues of safety or fairness arise without such assessment.




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